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                          IN THE UNITED STATES BANKRUPTCY COURT
                                 WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

   IN RE:                                            §
                                                     §             CASE NO. 21-10436-tmd
   MARY BRENNA RYLEE,                                §
                                                     §                 CHAPTER 11
            Debtor.                                  §               (SUBCHAPTER V)


     DEBTOR’S EXPEDITED APPLICATION FOR RETENTION OF THE HAYGOOD
       LAW FIRM PURSUANT TO 11 U.S.C. § 327(e) AS FAMILY LAW COUNSEL

  TO THE HONORABLE TONY M. DAVIS,
  UNITED STATES BANKRUPTCY JUDGE:

           Debtor Mary Brenna Rylee (the “Debtor”) hereby files her Expedited Application for

  Retention of the Haygood Law Firm Pursuant to 11 U.S.C. § 327(e) as Family Law Counsel (the

  “Application”) authorizing the Debtor’s retention and employment of the Haygood Law Firm

  (“Haygood”) as family law counsel for the Debtor. In support of the Application, the Debtor

  respectfully states as follows:

                                           I.      SUMMARY

           1.        Prior to filing her bankruptcy, the Debtor used Haygood as counsel for her divorce

  currently pending in Travis County, Texas. Pursuant to 11 U.S.C. § 327(e), Rule 2014(a) of the Federal

  Rules of Bankruptcy Procedure, and Rule 2014 of the Local Rules of Bankruptcy Procedure of the

  United States Bankruptcy Court for the Western District of Texas (the “Local Rules”), the Debtor

  requests entry of an order authorizing the retention of Haygood to continue its role as counsel to the

  Debtor for her pending family law matters.




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                         II.     STATUS OF THE CASE AND JURISDICTION

           2.        On May 31, 2021 (the “Petition Date”), the Debtor commenced the above-captioned

  Chapter 11 case by filing a voluntary petition for relief under Chapter 11, Subchapter V of Title 11 of

  the United States Code §§ 101, et seq. (the “Bankruptcy Code”).

           3.        The Debtor is operating and managing her property as a debtor-in-possession pursuant

  to sections 1107(a) and 1108 of the Bankruptcy Code.

           4.        No request for a trustee or examiner has been made. A committee of unsecured

  creditors has not been appointed or designated.

           5.        This Court has jurisdiction over this Application under 28 U.S.C. §§ 157 and 1334.

  This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A). Venue of this

  proceeding and this Application is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

           6.        The bases for the relief sought in this Application are Sections 327, 328, 330, and 1107

  of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure, and Rule 2014 of

  the Local Rules.

                                         III.      BACKGROUND

           7.        The Debtor and her non-filing spouse, Michael G. Rylee (the “Spouse” and together

  with the Debtor, the “Parties”) are parties to a pending divorce proceeding (the “Divorce Proceeding”),

  styled In the Matter of the Marriage of Mary Brenna Rylee and Michael Rylee, Cause No. D-1-FM-20-

  002731, in the 353rd Judicial District Court of Travis County, Texas (the “Divorce Court”).

           8.        Among the issues in the Divorce Proceeding is custody of the Parties’ minor children

  (the “Child Custody Matters”). The Parties hope to have a determination of the Child Custody Matters

  prior to the start of the fall school year so that the Parties’ children may begin classes without fear of

  disruption and the need to change schools during the academic year.




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           9.        On July 8, 2021, the Debtor filed an Expedited Agreed Motion for Order Modifying the

  Automatic Stay to Allow Determination of Custody Issues (the “Motion”) to allow the Divorce Court

  to hear and decide the Child Custody Matters, which was granted by the Court on July 9, 2021. See

  Dkt. Nos. 43 & 47.

                                     IV.      RELIEF REQUESTED

           10.       The Debtor seeks to employ Haygood as counsel for her pending family law matters in

  the Divorce Proceeding, including the Child Custody Matters.

           11.       Section 327(e) of the Bankruptcy Code states: “The trustee, with the court’s approval,

  may employ, for a specified special purpose, other than to represent the trustee in conducting the case,

  an attorney that has represented the debtor, if in the best interest of the estate, and if such attorney does

  not represent or hold any interest adverse to the debtor or to the estate with respect to the matter on

  which such attorney is to be employed.”

           12.       The Debtor believes that it is in the best interest of her estate that Haygood be

  employed as counsel for her family laws matters in the Divorce Proceeding under the terms and

  conditions set forth in the engagement agreement (the “Engagement Agreement”) attached hereto as

  Exhibit A and the disclosures attached hereto as Exhibit B (the “Compensation Disclosures”).

  Haygood will charge on an hourly fee basis and will also be entitled to reimbursement of reasonable

  expenses. The 2021 hourly rate for Haygood is $400.00, a range which the Debtor believes is in

  accordance with standard and customary fees charged in Texas for similar family law matters. No final

  compensation will be paid until a fee application has been filed and approved by the Court, pursuant to

  11 U.S.C. § 330 and the requirements of any other applicable law.

           13.       Haygood maintains an office for the practice of law at 522 North Grant Avenue,

  Odessa, TX 79761, with a telephone number of (432) 337-8514.




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            14.      The employment of Haygood will not result in duplication of efforts by the Debtor’s

  bankruptcy counsel at Husch Blackwell LLP. To the contrary, Haygood’s substantive knowledge of the

  Debtor and her pending family law matters will result in more efficient legal representation of the

  Debtor in the Divorce Proceeding.

            15.      Lane A. Haygood, the primary attorney for Haygood in this matter, is a licensed

  attorney in good standing with the State Bar of Texas. Mr. Haygood has personal experience

  representing the Debtor in her family law matters. The Debtor believes that it is in her best interest to

  employ Haygood to represent her with respect to these matters.

            16.      Haygood does not currently hold a retainer balance on behalf of the Debtor and does

  not have a pre-petition or pre-conversion claim in the Bankruptcy Case.

            17.      Except as set forth in this Application and in the Declaration of Lane A. Haygood

  attached hereto as Exhibit C (the “Declaration”), Haygood has not received any other payment in

  connection with this Bankruptcy Case, nor has it executed any other agreement for payment of its fees

  or expenses in these cases, nor has it agreed to share any compensation in this case with any other

  person.

            18.      Undersigned counsel for the Debtor has reviewed this representation and does not

  believe that Husch Blackwell’s representation of the Debtor constitutes a conflict of interest with

  respect to the proposed retention of Haygood.

            19.      To the best of Debtor’s knowledge, on information and belief, Haygood has no

  connection with the Debtor, her creditors, parties-in-interest or affiliates, or attorneys, the United States

  Counsel, or any person employed in the Office of the United States Counsel.

            20.      No previous application for the relief requested herein has been made to this or any

  other court.




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                                     V.       CONCLUSION

           WHEREFORE PREMISES CONSIDERED, the Debtor prays that she be authorized to

  retain the Haygood Law Firm as counsel for her family law matters, and for other just relief.

  Dated: July 9, 2021.                         Respectfully submitted,


                                               HUSCH BLACKWELL LLP

                                               By: /s/ Jameson J. Watts
                                                   Lynn Hamilton Butler
                                                   State Bar No. 03527350
                                                   Jameson J. Watts
                                                   State Bar No. 24079552
                                                   111 Congress Avenue, Suite 1400
                                                   Austin, Texas 78701
                                                   Tel: (512) 472-5456
                                                   Fax: (512) 479-1101
                                                   lynn.butler@huschblackwell.com
                                                   jameson.watts@huschblackwell.com

                                               PROPOSED COUNSEL FOR
                                               DEBTOR MARY BRENNA RYLEE



                               CERTIFICATE OF CONFERENCE

           I certify that I conferred with all counsel of record regarding the relief sought in this
  Motion and its expedited consideration. The Debtor’s non-filing spouse agrees to the relief
  requested in this Motion and its expedited consideration. The Subchapter V Trustee and
  SouthStar Bank have no objection to the relief requested in this Motion and its expedited
  consideration. Ector County, Texas and the U.S. Trustee take no position on the relief requested
  in this Motion and have no objection to its expedited consideration. As of the filing of the
  Motion, no other parties have taken a position with respect to the relief requested in the Motion
  or its expedited consideration.

                                                       /s/ Jameson J. Watts
                                                      Jameson J. Watts




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                                 CERTIFICATE OF SERVICE

         I certify that on July 9, 2021, a copy of this document was served upon the parties and by
  the means indicated below.

                                                      /s/ Jameson J. Watts
                                                      Jameson J. Watts

  Notice will be served via ECF to:

  Mary Brenna Rylee                                   Southstar Bank, S.S.B.
  c/o Jameson J. Watts                                c/o Richard T. Chapman
  Husch Blackwell LLP                                 Anderson, Smith, Null & Stofer, L.L.P.
  111 Congress Avenue, Suite 1400                     100 West Goodwin, Suite 700
  Austin, TX 78701                                    Post Office Box 1969
  Email:                                              Victoria, TX 77902
  Jameson.watts@huschblackwell.com                    Email: rchapman@andersonsmith.com

  American Momentum Bank                              Subchapter V Trustee
  c/o Bruce Ruzinsky                                  c/o Michael Colvard
  Jackson Walker LLP                                  Weston Center
  1401 McKinney Street, Suite 1900                    112 East Pecan Street, Suite 1616
  Houston, TX 77010                                   San Antonio, TX 78205
  Email: bruzinsky@jw.com                             Email: mcolvard@mdtlaw.com

  American Momentum Bank                              Travis County
  c/o Jennifer F. Wertz                               c/o Jason A. Starks
  100 Congress Avenue, Suite 1100                     Travis County Attorney
  Austin, TX 78701                                    P.O. Box 1748
  Email: jwertz@jw.com                                Austin, TX 78767
                                                      Email: jason.starks@traviscountytx.gov
  Ector CAD
  c/o Don Stecker                                     United States Department of Justice
  Linebarger Goggan Blair & Sampson, LLP              Office of the United States Trustee
  112 E. Pecan Street, Suite 2200                     c/o J. Casey Roy, Trial Attorney
  San Antonio, TX 78205                               903 San Jacinto Blvd., Suite 230
  Email: don.stecker@lgbs.com                         Austin, TX 78701
                                                      Email: Casey.Roy@usdoj.gov
  Michael G. Rylee
  c/o Fareed Iqbal Kaisani                            United States Trustee – AU12
  Platt Cheema Richmond PLLC                          903 San Jacinto Blvd., Suite 230
  1201 N. Riverfront Blvd., Suite 150                 Austin, TX 78701
  Dallas, TX 75207                                    Email: ustpregion07.au.ecf@usdoj.gov
  Email: fkaisani@pcrfirm.com




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  Notice will be mailed via United States       Internal Revenue Service
  first-class mail to:                          Special Procedures
                                                Stop 5022 AUS
  Briggs & Veselka Co                           300 East 8th Street
  c/o Edward Fowler                             Austin, TX 78701
  901 S. Mopac Expressway
  Bldg. II, Suite 450                           Internal Revenue Service
  Austin, TX 78746                              Centralized Insolvency Operations
                                                P. O. Box 7346
  Capital One Bank USA NA                       Philadelphia, PA 19101-7346
  PO Box 31293
  Salt Lake City, UT 84131-1293                 James Firm PLLC
                                                c/o Amanda James
  Community National Bank                       1316 5th Avenue
  1502 Avenue M                                 Fort Worth, TX 76104
  Hondo, TX 78861
                                                John Manicom
  Community National Bank                       PO Box 341420
  2659 John Ben Shepperd Pkwy.                  Austin, TX 78734
  Odessa, TX 79762
                                                Kelly L. Burris
  Ector County Tax Assessor/Collector           Cordell & Cordell PC
  1010 East Eighth Street, Suite 100            301 Congress Avenue, Suite 1800
  Odessa, TX 79761                              Austin, TX 78701

  Friday Milner Lambert Turner, PLLC            Michael G. Rylee
  3401 Glenview Avenue                          101 Colorado, Apt. 3007
  Austin, TX 78703                              Austin, TX 78701-4292

  GTG Solutions, Inc.                           Texas Comptroller of Public Accounts
  c/o Bob. J. Shelton P.C.                      Revenue Acctg Div - Bankruptcy Section
  5103 Chad Drive                               P.O. Box 13528
  Arlington, TX 76017                           Austin, TX 78711-3528

  GTG Solutions, Inc.                           Texas Workforce Commission
  c/o Anna Hand-Registered Agent                Tax-Collections
  500 West Sherman                              101 E. 15th Street
  Chico, TX 76431                               Austin, TX 78778-0001

  Haygood Law Firm                              Travis County Tax Assessor-Collector
  c/o Lane Haygood                              P.O. Box 149326
  522 North Grant Avenue                        Austin, TX 78714
  Odessa, TX 79761




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